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        AO 91 (Rev. 11/11) Criminal Complaint

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       CLERK, U.S. DISTRICT COURT                    UNITED STATES DISTRICT COURT
                                                                                for the
       07/07/2022
    CENTRAL DISTRICT OF CALIFORNIA
                                                                   Central District
                                                                 __________         of of
                                                                             District  California
                                                                                          __________
                  AP
     BY: ____________BB______ DEPUTY
                                                                                                                                7/7/2022
                                United States of America                           )
                                           v.                                      )                                                    KC

                                                                                   )      Case No.
                              Rudy Junior Rodriguez, Sr.                           )                 5:22-mj-00424
                                                                                   )
                                                                                   )
                                                                                   )
                                         Defendant(s)


   CRIMINAL COMPLAINT%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16

                     I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
        On or about the date(s) of                         February 21, 2022              in the county of              Riverside            in the
                Central                District of           California        , the defendant(s) violated:

                         Code Section                                                        Offense Description
        18 U.S.C. §§ 922(g)(1), 924(e)(1)                      Armed Career Criminal in Possession of Ammunition




                     This criminal complaint is based on these facts:
       See attached affidavit.




                     ✔ Continued on the attached sheet.
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                                                                                                                     /s/
                                                                                                              Complainant’s signature

                                                                                                         Paul Kirwan, Special Agent
                                                                                                               Printed name and title

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        Date:        7/7/2022
                                                                                                                 Judge’s signature

        City and state:                              Riverside, California                   Sheri Pym, United States Magistrate Judge
                                                                                                               Printed name and title

$86$ Peter      Dahlquist
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                                AFFIDAVIT

I, Paul Kirwan, being duly sworn, declare and state as follows:

                       I. PURPOSE OF AFFIDAVIT

     1.    This affidavit is made in support of a criminal

complaint and arrest warrant against Rudy Junior Rodriguez, Sr.

(“RODRIGUEZ”) for a violation of 18 U.S.C. §§ 922(g)(1),

924(e)(1) (Armed Career Criminal in Possession of Ammunition).

     2.    The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses. This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint, arrest

warrant, and search warrant, and does not purport to set forth

all of my knowledge of or investigation into this matter.

Unless specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

                       II. BACKGROUND OF AFFIANT
     3.    I am a Special Agent (“SA”) with the Bureau of

Alcohol, Tobacco, Firearms and Explosives (“ATF”), and have been

so employed since May 2017.      I am a graduate of the Federal Law

Enforcement Training Center and the ATF National Academy.           I am

an ATF Interstate Nexus Expert and routinely examine firearms

and ammunition to determine their origins and travel in

interstate commerce. During my time as an ATF SA, I have

testified as an expert witness in federal court, participated on

multiple different task forces, and assisted in multiple


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narcotics and firearms investigations. Based on my training and

experience, and on my conversations with other ATF SAs, I am

familiar with the investigation of federal firearms and drug

crimes, and with the ways in which people who commit those

crimes use their email accounts.        I have experience in

processing and analyzing both computer and cell phone data,

including data from email accounts, as the result of executing

multiple search warrants on digital devices.         I have experience

in handling and utilizing confidential informants for

information as well as planning controlled purchases for

firearms and narcotics.

                   III. SUMMARY OF PROBABLE CAUSE
     4.    On February 21, 2022, the Riverside County Sheriff’s

Department (“RSO”) received a call for service referencing a

potential armed kidnapping. Deputies responded to the scene and

took RODRIGUEZ into custody, who reported to law enforcement

that he was on parole for attempted murder.         Deputies searched

the vehicle RODRIGUEZ was sitting in when the first deputy
arrived at the scene and recovered a 9mm machine gun, loaded

with six rounds of 9mm ammunition.        Both RODRIGUEZ and the

vehicle he was in matched the description dispatch provided to

the deputies responding to the scene.

                   IV. STATEMENT OF PROBABLE CAUSE
     5.    Based on my review of law enforcement reports,

conversations with other law enforcement agents, my own

knowledge of the investigation, my review of RSO incident report




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with file number I220520013, and my review of body-worn camera

recordings, I learned the following:
        A.     RSO Unit Sent to Gas Station to Respond to 911 Call
               and Report of Armed Kidnapping

        6.     On February 21, 2022, Deputy M. Murray was working

patrol in the City of San Jacinto within Riverside County, when,

at approximately 7:42 a.m., he was dispatched to a call of a

reported armed kidnapping.        The dispatcher informed Deputy

Murray that Victim 11 called 911 and reported she was being held

hostage at gunpoint and she was hiding in the bathroom of the

Arco gas station located on Ramona Boulevard in San Jacinto.

Victim 1 described two suspects.         One suspect was a Hispanic

male adult about 30 years old, wearing all white. The second

suspect was a Hispanic male adult about 20 years old, wearing a

black shirt, jean shorts, and armed with a black handgun. The

dispatch further relayed to Deputy Murray that the suspects were

last seen near a maroon Nissan Maxima that was parked in front

of the Arco gas station store.

        7.     At approximately 7:44 a.m., Deputy Murray arrived on
scene and saw a maroon Nissan Maxima parked in front of the Arco

gas station store and observed a Hispanic male wearing a black

shirt and blue jean shorts, later identified as RODRIGUEZ,

sitting in the front driver’s seat of the Nissan with the door

open.        RODRIGUEZ matched the clothing description given by


     1I know the identities of Victim 1, Victim 2, and Victim 3,
but I am not including their names in this affidavit because I
anticipate this document will be publicly filed and wish to
protect their identifies at this point in the investigation.


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Victim 1 as the individual armed with a handgun. As Deputy

Murray exited his vehicle, he also observed a Hispanic male,

later identified as C.C., wearing a white shirt and white

shorts, standing in front of the Arco gas station store smoking

a cigarette. In C.C.’s hand, Deputy Murray saw a cigarette

lighter and a tiny ball of a black tar-like substance that was

wrapped in a clear plastic wrap. Deputy Murray recognized the

substance to be black tar heroin. Deputy Murray also saw used

needles inside the Nissan on top of the center console.

     8.    Deputy Murray detained both C.C. and RODRIGUEZ and

placed them both in the back of his patrol vehicle. While

escorting C.C. to the back of his police vehicle, Deputy Murray

asked C.C. if he was on probation or parole, to which C.C.

stated he was on “AB-109,” which is a term for Post Release

Community Supervision (“PRCS”).         While Officer Murray was

placing RODRIGUEZ in the back of his patrol vehicle, he asked

him if he was on probation or parole and RODRIGUEZ stated he was

on parole for attempted murder. Deputy Murray used his radio to
confirm RODRIGUEZ’s parole status.

     9.    After confirming that RODRIGUEZ was on parole and

after C.C. said that he was on PRCS, Deputy Murray briefly

searched the Nissan before returning to his vehicle to ask C.C.

for his full name and date of birth. Officer Murray then

confirmed C.C. was on PRCS.

     10.   After additional RSO units arrived, Deputy Murray

moved C.C. to separate patrol unit.



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     B.    Deputy Murray Searches the Nissan and Finds a Loaded
           Glock-type 9mm Machinegun, Bearing No Legitimate
           Serial Number

     11.   Victim 1, and a second victim, Victim 2, were both

inside the Arco gas station store when Deputy Murray arrived at
the gas station. After securing both suspects, Deputy Murray

went into the Arco gas station store as Victim 1 and Victim 2

were speaking with another Deputy who had arrived. The Victims

reported that the guy in the jean shorts (an accurate

description for RODRIGUEZ) had the firearm, and Deputy Murray

asked specifically where RODRIGUEZ had the firearm on him, to

which the Victims stated the firearm was on his lap.

     12.   Victim 1 (who said she was driving the Nissan) and

Victim 2 (who said the Nissan belonged to her) gave Deputy

Murray permission to search the Nissan. During a more thorough

search of the Nissan, Deputy Murray found a black Glock-type 9mm

pistol that was loaded with six rounds of 9mm ammunition.

Deputy Murray found the firearm under the front passenger seat.

It should be noted that Victim 1 and Victim 2 stated RODRIGUEZ

was sitting in the front passenger seat prior to arriving at the

gas station. Deputy Murray took a picture of the firearm under

the seat before he seized it.      Deputy Murray also noticed that

the firearm was equipped for automatic fire. The firearm had a

noticeable metallic/silverish selector switch, commonly referred

to as “Glock Switch,” affixed to the backplate giving it the
capability of fully automatic fire.




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        C.    Statements of Victims

        13.   Deputy Murray then conducted a follow-up interview

with Victim 1 and Victim 2.      Victim 1 and Victim 2 reported they

went to the San Manuel Casino with Victim 1’s male friend and

that male friend was friends with RODRIGUEZ and C.C. Victim 1’s

male friend left the Casino before RODRIGUEZ and C.C. asked

Victim 1 for a ride to San Jacinto, and Victim 1 agreed.          Before

driving to San Jacinto, Victim 1 stopped by her home in Highland

so she could change her clothes.          The group then drove to Victim

2’s home in Highland so Victim 2 could change her clothes.

Victim 1 stated that as the group began driving to San Jacinto,

she became nervous because RODRIGUEZ began talking on the phone

and saying they were not going to get out of the car.          Victim 1

then became afraid and stated that she needed to go home to her

kids.

        14.   RODRIGUEZ asked Victim 1 to take him to a mobile home
park where RODRIGUEZ picked up a substance Victim 1 believed was

heroin.       When RODRIGUEZ got back, he also pulled out a firearm

and placed it on his lap.       At this point, RODRIGUEZ was sitting

in the front passenger seat of the Nissan.          He also began to

repeatedly eject the magazine from the firearm and re-insert the

magazine into the firearm. RODRIGUEZ told Victim 1 that he was

diabetic, and they needed to stop at a pharmacy so he could get

a syringe.      At one point, Victim 1 drove by a police vehicle and

she flashed the Nissan’s high beams at the vehicle to try to get

the officer’s attention, but her attempt did not work.




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Rodriguez told Victim 1 to drive well because he would shoot it

out with the police.

     15.   At that point, Victim 1 wanted to get away from C.C.

and RODRIGUEZ.    She told them she needed to use the restroom and

pulled into the Arco gas station parking lot. When she stopped

the Nissan, RODRIGUEZ started to become upset.         Victim 1 then

went into the Arco gas station store, hid in the bathroom, and

called 911.

     16.   While Victim 1 was inside the Arco gas station store,

Victim 2 reported that RODRIGUEZ would not let her leave the

car, but ultimately told C.C. to take Victim 2 into the store to

get Victim 1 or the keys and bring her/them back to the Nissan.

RODRIGUEZ told C.C. to follow her into the store.

     D.    Mirandized Statement of RODRIGUEZ to Deputy Murray
     17.   Deputies arrested RODRIGUEZ and transported him to the

local RSO Station.     At the station, in a video recorded

interview, Deputy Murray read RODRIGUEZ Miranda warnings from

his department-issued card and RODRIGUEZ confirmed he understood

his Miranda rights.      RODRIGUEZ stated, in summary, that the

group went to Victim 1’s apartment and then RODRIGUEZ became

nervous that the father of Victim 1’s children would come home

soon. RODRIGUEZ said he saw the firearm in Victim 1’s apartment

and so he grabbed it for his own protection.
     E.    Prior Arrest in Which RODRIGUEZ Punched Pregnant
           Girlfriend in Stomach and Officers Find Firearm in His
           Room

     18.   After learning about this incident from RSO and after

reviewing documents from RODRIGUEZ’s criminal history, I learned


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that RODRIGUEZ had recently committed domestic violence.

RODRIGUEZ was recently arrested for a parole violation after he

punched Victim 3, his wife, who was 7 months pregnant, in the

stomach and then slapped her phone out of her hand so she could

not call 911. RODRGIGUEZ became upset with Victim 3 during a

verbal dispute about RODRIGUEZ’s heroin use. The incident

occurred on or about March 31, 2022, but because RODRIGUEZ

prevented her from making an immediate report, Victim 3 went to

the City of Colton police station in person to make a report on

April 4, 2022.     Victim 3 provided officers with a photograph of

a bruise that she sustained on her stomach which was no longer

visible at the time Victim 3 made the report.

        19.   The victim also provided RODRIGUEZ’s parole agent with

an address for where RODRIGUEZ was currently staying in the City

of Hemet. Hemet Police Department Officers searched the

residence and found a .22 caliber handgun in a room they

concluded RODRIGUEZ was using.

        20.   RODRIGUEZ is currently in Riverside County custody for

a parole violation based on both the domestic violence incident

as well as firearm possession/access during the arrest, but he

is expected to be released from custody no later than July 20,

2022.

        F.    Criminal History
        21.   On or about July 5, 2022, I reviewed certified
conviction documents for RODRIGUEZ and learned that he has

previously been convicted of the following felony crimes,

including three violent felonies as defined in Title 18, United


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States Code, Section 924(e)(2)(B), punishable by a term of

imprisonment exceeding one year:

           a.    Assault with Deadly Weapon, in violation of

California Penal Code Section 245(a)(1), in the Superior Court

of the State of California, County of Lassen, case number

CH026866, on or about September 24, 2009, for which he was

sentenced to six years’ prison. This conviction constitutes a

violent felony as defined in Title 18, United States Code,

Section 924(e)(2)(B) and was committed on an occasion different

from the two other violent felonies RODRIGUEZ has committed.

           b.    Assault with Deadly Weapon, in violation of

California Penal Code Section 245(a)(1), in the Superior Court

of the State of California, County of Riverside, case number

CSWF026169, on or about July 31, 2008, for which he was

sentenced to 36 months’ prison. This conviction constitutes a

violent felony as defined in Title 18, United States Code,

Section 924(e)(2)(B) and was committed on an occasion different

from the two other violent felonies RODRIGUEZ has committed.

           c.    Attempted Murder, in violation of California

Penal Code Sections 664 and 187, in the Superior Court of the

State of California, County of Riverside, case number SWF023930,

on or about July 11, 2008, for which he was sentenced to 9

years’ prison. In this case, according to the felony complaint,

RODRIGUEZ was charged with trying to murder four people (two

John Does and two Jane Does) with a firearm. This conviction

likely constitutes a violent felony as defined in Title 18,

United States Code, Section 924(e)(2)(B) and was committed on an

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occasion different from the two other violent felonies RODRIGUEZ

has committed.

             d.     Possession of a Controlled Substance, in

violation of California Health and Safety Code Section 11377(a),

in the Superior Court of the State of California, County of

Riverside, case number SWF023971, on or about December 5, 2007,

for which he was sentenced to 1 year and 4 months’ prison.

     G.      Interstate Nexus
     22.     I am an ATF Interstate Nexus Expert, and on or about

June 27, 2022, I reviewed photographs of the ammunition and

confirmed that the ammunition loaded within the 9mm Glock Type

machinegun, bearing no legitimate serial number, was

manufactured outside of the State of California. Because the

ammunition was found in California, I believe that it has

traveled in and affected interstate commerce.

     H.      Examination of Suspected Machine Gun Conversion Device
     23.     ATF Firearms Enforcement Officer Christopher Cochran

from the Firearms Technology Criminal Branch completed a Report

of Technical Examination of the Polymer 80, 9mm caliber

suspected machinegun and concluded the firearm was equipped with

a machinegun conversion device commonly referred to as a Glock

Switch. A Glock Switch is designed and intended to convert a

semiautomatic, Glock-style pistol into a machinegun by utilizing

an extended metal “leg” to push the trigger bar down and out of

engagement with the firing pin as the slide closes, releasing

the partially retracted firing pin to travel forward and fire a

cartridge.        When the trigger is depressed, the Glock Switch


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allows a Glock-style pistol to shoot automatically more than one

shot, without manual reloading, by a single function of the

trigger.

                             V. CONCLUSION

     24.   For all of the reasons described above, there is

probable cause to believe that RODRIGUEZ has committed a

violation of 18 U.S.C. §§ 922(g)(1), 924(e)(1) (Armed Career

Criminal in Possession of Ammunition).


Attested to by the applicant, ATF
SA Paul Kirwan, in accordance with
the requirements of Fed. R. Crim.
P. 4.1 by telephone on this 7th
day of July     , 2022.



HONORABLE SHERI PYM
UNITED STATES MAGISTRATE JUDGE




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